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   CEDAR LANE TECHNOLOGIES INC.
17
                               UNITED STATES DISTRICT COURT
18

19                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

20                                     OAKLAND DIVISION

21    CEDAR LANE TECHNOLOGIES INC,                 Case No. 3:20-cv-00552-WHO
22                        Plaintiff,               Hon. Judge William H. Orrick
23
            v.                                     ORDER GRANTING STIPULATED
24                                                 NOTICE OF SETTLEMENT and
      ZOOM VIDEO COMMUNICATIONS, INC.,             DISMISSAL
25
                          Defendant.
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27

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     NOTICE OF SETTLEMENT
     Case No. 3:20-cv-00552-WHO
 1          Having considered the Stipulated Notice of Settlement by the Parties,

 2          IT IS HEREBY ORDERED that:

 3          1.     This matter is conditionally dismissed, provided that it may be reinstated within 45

 4 days upon notice to the Court that settlement could not be finalized. In the absence of such notice,

 5 the parties agree that the dismissal may become final at the conclusion of the 45 days and be deemed

 6 to be WITH PREJUDICE, each party bearing its own fees and costs.

 7

 8 PURSUANT TO STIPULATION, IT IS SO ORDERED.

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11 Dated: March 6, 2020                          __________________________________
                                                 Honorable Judge William H. Orrick
12                                               United States District Judge
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     NOTICE OF SETTLEMENT
     Case No. 3:20-cv-00552-WHO
